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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 18-80109-CR-ROSENBERG

  UNITED STATES OF AMERICA,
      Plaintiff,

  vs.

  JOHN O’GRADY,
        Defendant.
  ____________________________

                  MOTION TO ADVANCE SENTENCING DATE

        Defendant, John O’Grady, through undersigned counsel, requests the Court to

  advance the sentencing date in the above-styled cause. As grounds therefor,

  Defendant states:

        1. Defendant is charged with falsely representing himself to be a United

           States Marshal. On August 16, 2018, Defendant pled guilty as charged.

           Sentencing is currently set for October 30, 2018.

        2. A presentence investigation report (PSI) was filed on September 12, 2018.

           No objections to the PSI have been filed.

        3. Defendant’s advisory guideline range is 1 to 7 months imprisonment.

           Defendant has been incarcerated in the Palm Beach county jail for nearly 7

           weeks. Accordingly, Defendant has been incarcerated longer than the

           bottom end of the advisory guideline range and is therefore eligible for a

           sentence of time served.



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        4. There is no agreement between the government and Defendant as to the

           sentence the Court should impose. Even so, Defendant should have the

           benefit of the Court’s consideration of the full guideline range before

           imposing sentence. With each passing day that range, through no fault of

           Defendant, is narrowed. Yet, most importantly, were the Court to consider

           a sentence at the bottom of the guideline range as sufficient but not greater

           than necessary to meet the factors of 18 U.S.C. § 3553(a), Defendant has

           overserved that sentence

        5. Based upon the foregoing, Defendant requests the Court to advance his

           sentencing date to the earliest date available to the Court

        6. Undersigned counsel has contacted Assistant United States Attorney John

           McMillan who objects to the above-styled motion.

        WHEREFORE, Defendant respectfully requests the Court to grant the

  above-styled motion.

                                         Respectfully submitted,

                                         MICHAEL CARUSO
                                         Federal Public Defender

                                         s/ Peter Birch
                                         Peter Birch
                                         Assistant Federal Public Defender
                                         Attorney for the Defendant
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                              CERTIFICATE OF SERVICE


        I HEREBY certify that on September 27, 2018, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that

  the foregoing document is being served this day on all counsel of record via

  transmission of Notices of Electronic Filing generated by CM/ECF or in some other

  authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.

                                           s/ Peter Birch
                                           Peter Birch




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